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 Massimo Gammella
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                                                               December, 17 20024


 Honorable Natasha C. Merle

 Judge Steven I. Locke
 U.S. District Court Eastern District of New York
 225 Cadman Plaza E

 Brooklyn, NY 11201

 Case No. 20-cv-04026-NCM-SIL


 Defendants, Response to the Court’s Report and Recommendation (R&R) and Order
 Dated December 10,2024


 Honorable Magistrate Judge Steven i. Locke.

 Defendant Massimo Gammella respectfully submits this response to address the Court’s
 Report and Recommendation dated November 19,2024 (Dkt. No. 97) and the subsequent
 Electronic Order dated December 10,2024, regarding Plaintiff’s failure to file proof of
 service of the R&R as required by December 16,2024.


    1. Plaintiffs* Consistent Pattern of Non-Compliance
        Defendant respectfully brings to the Court’s attention that plaintiffs’ counsel, Mr.
        Steven Moser, has repeatedly failed to comply with Court Rules, directives, and
        deadlines throughout the course of this litigation, even missing 7 conference calls.
        This is not an isolated occurrence, but rather part of an ongoing pattern of neglect
        and non-compliance, including:


        Failure to properly serve Documents: Plaintiffs’ counsel has on multiple
        occasions failed to serve defendants with court filing, whether by email or first-class
        mail, as required. Each time. Plaintiffs have been allowed to remedy these failures,
        causing unnecessary delays and prejudice to defendants.
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         Failure to meet Court-Imposed deadlines: Plaintiffs’ repeated delays, such as the
         current failure to file proof of service of the R7R, demonstrate an ongoing disregard
         for this Court’s orders and procedural rules.


         Failure to Notify Defendants: Plaintiffs, counsel has habitually failed to notify
         defendants promptly of filings, motions, and other court related matters, further
         impairing Defendants’ ability to respond and defend themselves In this matter.


    2. The Motion for Default Judgment against the Corporation Rosso Uptown
         Ltd.Should be Denied With Prejudice.


         Given Plaintiffs’ repeated failures, Defendant Massimo Gammella respectfully
         request that the Court deny Plaintiffs' motion for a default judgment with
         prejudice, rather than without prejudice.
         Allowing Plaintiffs, to repeatedly refile or renew their motion, despite their ongoing
         non-compliance, only prolongs this litigation and rewards Plaintiffs’ counsel’s
         failure to follow Court orders. A dismissal with prejudice would serve as an
         appropriate consequence for Plaintiffs’ continued failure to meet their obligations
         under the Federal Rules of Civil Procedure and this Court’s directives.


    3.   Conclusions



         For the foregoing reasons,
         Defendant respectfully requests that the Court:


         1.   Take notice of Plaintiffs’ repeated failure to comply with Court Orders and rules.
         2. Deny Plaintiffs’ motion for a default judgement with prejudice
         3.   Grant such order and further relief as the Court deems just and proper.



              Respectfully submitted.

              Massimo Gammella
